                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION

GCM PARTNERS, LLC, an Illinois limited        )
liability company,                            )
                                              )
                          Plaintiff,          )
                                              )      Civil Action No. 1:20-cv-06401
                   v.                         )
                                              )
HIPAALINE LTD., a limited company of          )
England and Wales, and EMILY ARIDA            )      JURY TRIAL DEMANDED
FISHER,                                       )
                                              )
                                              )
                          Defendants.         )

     PLAINTIFF’S RENEWED MOTIONS REQUESTING REVISION OF
        THE COURT’S OPINION AND ORDER OF APRIL 19, 2021

      Plaintiff, GCM Partners, LLC (“GCM”), hereby moves to request revision of the

Court’s Opinion and Order issued on April 19, 2021 [Dkt. 089], by renewing Plaintiff’s

Emergency Motion for Issuance of Rule to Show Cause and a Finding of Contempt

[Dkt. 057, 058, 062] and Plaintiff’s Emergency Motion to Modify Preliminary

Injunction [Dkt. 063] based on evidence not in existence at the time of ruling.

                                 INTRODUCTION

      On April 19, 2021, the Court issued its Opinion and Order [Dkt. 089] denying

GCM’s Emergency Motion for Issuance of Rule to Show Cause and a Finding of

Contempt [Dkt. 057] and GCM’s Emergency Motion to Modify Preliminary Injunction

[Dkt. 063]. Specifically, the Court declined to extend successor liability to Fisher’s

new entity, Online MD Ltd., due to a concern the impact of such a ruling would have

on Hipaaline’s creditors. To address that concern, GCM has escrowed funds which
would cover the maximum amount of recovery available to any and all creditors of

Hipaaline. Accordingly, GCM respectfully requests that the Court revise its ruling

of April 19 to extend successor liability to Online MD Ltd.

                                LEGAL STANDARD

      GCM incorporates by reference the legal arguments made in its Second

Supplement in Support of its Emergency Motion for Issuance of Rule to Show Cause

and a Finding of Contempt [Dkt. 062].

                                  BACKGROUND

      On April 17, 2021, just prior to the Court’s ruling of April 19 (hereafter,

“Order”), the U.K. insolvency administrators handling the Hipaaline Ltd. insolvency

issued their AM03 Notice of Administrator’s Proposals, a filed and complete copy of

which is attached hereto as Exhibit A (hereafter, “NAP”). The NAP, for all intents

and purposes, is the administrators’ initial status report of the insolvency proceeding.

The NAP reveals several things.

      First, it provides an accounting of fees and expenses incurred as of the date of

the NAP; that total is £50,827.59. Ex. A, p. 6. Second, it corroborates the testimony

heard by this Court that Hipaaline Ltd.’s (“Hipaaline”) assets were purchased by

Fisher and/or Online MD Ltd. (“Online MD”) for £100,000.00. Id., p. 9, sec. 5.2.

Third, it corroborates the testimony heard by this Court that Fisher and/or

Online MD agreed to make an initial payment of £20,000.00 and monthly payments

of £8,000.00 to the administrators in furtherance of satisfying the £100,000.00

balance. Id. Fourth, the administrators expect that the total fees, expenses, and




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taxes incurred in the insolvency will exceed the total purchase price of £100,000.00,

thereby leaving an estimated balance of -£2,911.00 left for creditors. Id., p. 33. Fifth,

the administrators’ fee, expense, and tax estimates reflect the effort expected in an

ordinary administration, one that would not require “further investigations” or

“exceptional work”. Id., p. 40.

      On September 10, 2021, the administrators filed an AM10 Notice of

Administrator’s Progress Report, a copy of which is attached as Exhibit B (“Progress

Report”). It contains several relevant details complimenting the aforementioned

facts. First, it provides a revised accounting of fees and expenses incurred as of the

date1 of the Progress Report. As of August 23, 2021, the total fees and expenses

incurred are £85,592.03.2       Ex. B, p. 14.   Second, it updates the total payments

received in furtherance of the £100,000 asset-purchase price—the administrators

have received £68,000, leaving £32,000 to be repaid (four payments of £8,000 each).

Id., pp. 4, 10. Third, it states that no creditor claims have been received against the

Hipaaline estate. Id., p. 11.

      Despite this bleak outlook for Hipaaline’s creditors, and the complete absence

of creditor claims altogether, GCM has deposited funds with an escrow agent,

Trowers & Hamlins LLP (“Trowers”), in order to alleviate the Court’s concern over

the impact a successor-liability ruling could have on any creditors.              GCM has




1
      The date range for the Progress Report is 2/24/2021 through 8/23/2021. Ex. B, p. 2.
2
      Administrators’ times costs (£44,478.50) plus expenses (£40,843.53) equal
£85,592.03. Id., p. 14.



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deposited £5,359.97 with Trowers pursuant to an escrow agreement between the two

parties.3

        As explained in the NAP, the Progress Report, and escrow agreement (“Escrow

Agreement”), the actual expenses and fees incurred (excluding the HMRC taxes) as

of the date of the Progress Report were £85,592.03. Ex. A, p. 6; Ex. B, p. 14; Ex. C-1,

p. 1.   That total including the HMRC taxes4 is £94,640.03.            Therefore, because

payment of the taxes and the administrators’ fees and expenses comes out of the

£100,000.00 and must be paid before any creditors are paid,5 the largest aggregate

recovery that any creditor or creditors could obtain is £5,359.97 (assuming no further

fees or expenses are incurred after the date of the Progress Report).

                                         ARGUMENT

        In its Order, the Court declined to extend successor liability to Online MD

because it found good cause to do so due to the risk that such a ruling would “upend

the priorities of competing creditors”. [Dkt. 089], p. 19. The Court continued by

commenting: “As even Fisher must acknowledge, under ordinary circumstances,

Online MD’s continued operation of the Leafwell business presents a strong case for

binding Online MD to the injunction.” Id., p. 20. GCM seeks to alleviate the Court’s




3
       See Affidavits of Dr. George Gavrilos and Dan Butler, attached hereto as Exhibit C
and Exhibit D, respectively. The escrow agreement is attached to each affidavit as
Exhibit C-1 and Exhibit D-1, respectively.
4
        Ex. A, p. 12, 33; Ex. B, p. 4.
5
        Enterprise Act 2002, Schedule 16 (Schedule B1 to Insolvency Act 1986), para. 99.


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concern over the rights of Hipaaline’s creditors by having placed cash in escrow to

cover any creditor claims that may arise in the U.K. insolvency proceeding.

      The Escrow Agreement guarantees payment to creditors up to £5,359.71 and

will pay any creditor claims in the event that the administrators’ total fees and

expenses do not exceed the amount of those claims. Ex. C-1, p. 3. The Escrow

Agreement gives GCM no discretion in terms of whether a payment must be made to

a creditor; if there is a claim, GCM must agree to release funds. Id. Given these

protections, the high likelihood that the administrators have incurred further fees

and expenses since August 23, 2021, the high likelihood that Fisher and/or

Online MD have continued to make the £8,000.00 payments since August 23, and the

fact that no creditor claims have been made since the insolvency began in February,

the escrowed funds are more than sufficient to protect the recovery rights of

Hipaaline’s actual and potential creditors.

      By ensuring payment in an amount well beyond what the administrators

reasonably expect to recover for the benefit of creditors, GCM contends there is no

longer a reason for the Court to decline to extend successor liability to Online MD.

Accordingly, GCM respectfully requests that the Court revise its Order to bind

Online MD to the injunction.

      WHEREFORE, for the reasons set forth above, Plaintiff, GCM Partners, LLC,

respectfully requests that this Court grant its Renewed Motions Requesting Revision

of the Court’s Opinion and Order of April 19, 2021, and renews portions of the prayers

for relief set forth in its Emergency Motion for Issuance of Rule to Show Cause and a




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Finding of Contempt [Dkt. 057, 058, 062] and Plaintiff’s Emergency Motion to Modify

Preliminary Injunction [Dkt. 063], and grant modified requests for relief, as follows:

      (i)     issue a rule to show cause against Online MD Ltd., as successor to
              Hipaaline Ltd., and Emily Fisher and a finding of civil contempt;

      (ii)    order Fisher and Online MD Ltd., as successor to Hipaaline Ltd., to
              comply with the Court’s Opinion and Order of November 23, 2020,
              instanter, by:

              a. restoring GCM’s access to the accounts referenced in Paragraph 2 of
                 Dkt. 057;

              b. restoring GCM’s independent contractors’ access to the Leafwell
                 platform as referenced in Paragraph 2 of Dkt. 057; and

              c. restoring the connection between the Leafwell Platform and Bluepay
                 as referenced in Paragraph 3 of Dkt. 057.

      (iii)   order Fisher and Online MD Ltd., as successor to Hipaaline Ltd., to
              cease all operation of the Leafwell business and the Leafwell platform
              until they fully comply with the Court’s Opinion and Order of November
              23, 2020, and until they fully comply with any order favorable to GCM
              issued by this Court in response to these renewed Motions;

      (iv)    enter a fine or sanction against Online MD Ltd., as successor to
              Hipaaline Ltd., for $10,000 per day for each day since February 24, 2021,
              that it has failed to comply with the Court’s Opinion and Order of
              November 23, 2020;

      (v)     enter a conditional fine or sanction against Online MD Ltd., as successor
              to Hipaaline Ltd., for $10,000 per day for each day that it fails to comply
              with a ruling by this Court on these renewed Motions should the ruling
              be favorable to GCM;

      (vi)    enter an order that Fisher, as a corporate officer of Online MD Ltd.,
              a) provide a full accounting to GCM of all financial activity of Leafwell
              beginning on 12:01 a.m. GMT on February 24, 2021, to date (with an
              ongoing obligation to supplement) and b) place all revenues received by
              Fisher and/or Online MD Ltd. since 12:01 a.m. GMT in escrow pending
              resolution of GCM’s renewed Motions and/or Fisher and Online MD
              Ltd.’s compliance with the orders of this Court;




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      (vii)   award GCM all lost revenues since February 24, 2021, to which it is
              entitled pursuant to the contract between GCM and Hipaaline which is
              the subject of this litigation; and

      (viii) grant such further relief as the Court deems just and proper.

                                              Respectfully submitted,


                                              GCM PARTNERS, LLC


                                              By:   /s/ Trisha M. Rich
                                                    One of Its Attorneys

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                          CERTIFICATE OF SERVICE

      The undersigned certifies that on November 17, 2021, she caused the

foregoing Plaintiff's Motion Requesting Revision of the Court’s Opinion and

Order of April 19, 2021, to be electronically filed with the Clerk of the United States

District for the Northern District of Illinois by filing through the CM/ECF system,

which served a copy upon counsel of record.




                                                     /s/ Trisha M. Rich




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